                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
        v.                                     )       Case No. 1:15-cr-12-13
                                               )       Judge Mattice/Steger
 LARRY THOMAS HARRISON                         )


                      AMENDED REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), the undersigned United States Magistrate Judge conducted

 a plea hearing in this case on June 8, 2016. At the hearing, Defendant Larry Thomas Harrison

 (hereinafter "Defendant") entered a plea of guilty to the lesser included offense in Count Two of

 the Indictment (conspiracy to distribute and possess with intent to distribute a mixture and

 substance containing methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C)) in

 exchange for the undertakings made by the Government in the written Plea Agreement and Plea

 Agreement Supplement (hereinafter "Plea Agreement"). On the basis of the record made at the

 hearing, the Court finds that Defendant is fully knowledgeable and competent to enter an informed

 plea; the plea is made knowingly and with full understanding of each of the rights waived by

 Defendant; it is made voluntarily and free from any force, threats, or promises, apart from the

 promises in the Plea Agreement; Defendant understands the nature of the charges and penalties

 provided by law; and the plea has a sufficient basis in fact.

        I therefore recommend that Defendant's plea of guilty to the lesser included offense in

 Count Two of the Indictment be accepted; the Court adjudicate Defendant guilty of the lesser

 included offense set forth in Count Two of the Indictment; and the written Plea Agreement be

 accepted at the time of sentencing. I further recommend that Defendant remain in custody until


                                                   1



Case 1:15-cr-00012-TRM-CHS            Document 480        Filed 06/14/16     Page 1 of 2        PageID
                                            #: 2718
 sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the Plea

 Agreement, and imposition of sentence are specifically reserved for the District Court Judge.

        The Defendant=s sentencing hearing is scheduled on Monday, September 12, 2016, at

 9:00 a.m.

        ENTER:


                                                s/Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review by the district judge of the foregoing findings. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




                                                   2



Case 1:15-cr-00012-TRM-CHS            Document 480         Filed 06/14/16      Page 2 of 2      PageID
                                            #: 2719
